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                                                                                 FILED
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                                                                                MAY' 5 2013
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                                                                                     DISTRICT COURT
  3                                                                         ~!t-QISrm leT OF CAUFOANIA
                                                                                                DEPUTY
  4                             UNITED STATES DISTRICT COUR
  5                           SOUTHERN DISTRICT OF CALIFORNIA
  6

  7    UNITED STATES OF AMERICA,
                                                                   VERDICT
  8                                          Plaintiff,
              vs.                                                  CASE NO. 13CR0470-GPC
  9

 10    LOURENCEDAPAR
                                           Defendant.
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 14      We the jury in the above entitled cause find the defendant Lourence Dapar,
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         YU D:t (jU        ;''1   of bringing in illegal aliens for fInancial gain, as charged in COlUlt 1, and


 19       01{). ±~ iA tIl;: of bringing in illegal aliens widtout presentation, as charged in count 2
 20                               of the indictment.
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 24   Date:-S-...   I S=,.. d- () ( 3                                LV
 25   San Diego, California

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